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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN THE MATTER OF:                            :           MISCELLANEOUS
                                             :
JOSHUA ASHLEY KLAYMAN                        :           NO. 13-mc-0080



                               ORDER TO SHOW CAUSE

               AND NOW, this          27th       day of March, 2013, it appearing that on

September 19, 2012, respondent was suspended from the practice of law by the

Supreme Court of Pennsylvania, effective thirty (30) days from September 19, 2012, it

is hereby

               ORDERED that respondent file with this court, within thirty (30) days from

the date of service of this Order, an answer informing this court of any claim by the

respondent, predicated upon the grounds set forth in Local Rule of Civil Procedure 83.6

II D, that the imposition of identical discipline by this court would be unwarranted, and

the reasons therefore.



                                             FOR THE COURT:




                                             /s/ J. Curtis Joyner
                                             J. CURTIS JOYNER
                                             Chief Judge
